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                          UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY



 BENIAK ENTERPRISES, INC,
                                              Civ. No. 20-5536 (KM)(JBC)
                 Plaintiff,
                                                        ORDER
 v.

 INDEMNITY INSURANCE COMPANY
 OF NORTH AMERICA,

                Defendant.



      This matter having come before the Court on defendant Indemnity
Insurance Company of North America’s motion (DE 26) for judgment on the
pleadings; and the Court having considered the submissions of the parties; and
for the reasons stated in the accompanying Opinion, and good cause appearing
therefor;
      IT IS this 26th day of August 2021,
      ORDERED that defendant’s motion for judgment on the pleadings (DE
26) is GRANTED.
The clerk shall close the file.


                                    /s/ Kevin McNulty
                                    ____________________________________
                                    Kevin McNulty
                                    United States District Judge
